                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI
                                   CENTRAL DIVISION

RICHARD         L.    MEHLBERG,          and
ANGELA R. DEIBEL, individually, on
behalf of all others similarly situated, and
on behalf of the Plan,

               Plaintiffs,                                Case No. 2:24-cv-04179-SRB

                       v.

COMPASS GROUP USA, INC.,

               Defendant.


      DEFENDANT COMPASS GROUP USA, INC.’S MOTION TO DISMISS
       Defendant, Compass Group USA, Inc., through undersigned counsel, respectfully move

this Court to dismiss Plaintiffs Richard Mehlberg and Angela Deibel’s Complaint, ECF No. 1,

with prejudice for failure to state a claim and lack of standing under Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6).

       Defendant’s motion is based on the accompanying memorandum of law, the

accompanying exhibits, the accompanying Declaration of Phillip C. Thompson, any reply or

supplemental briefing Defendant may submit, and any further evidence or argument (including

oral argument) that the Court may invite Defendant to present in connection with this motion.

       WHEREFORE, Defendant respectfully requests that this Court grant this motion,

dismiss the Complaint in its entirety, with prejudice, and grant Defendant any other relief that the

Court deems just and proper.

Dated: March 6, 2025                          JACKSON LEWIS P.C.

                                               /s/ Phillip C. Thompson
                                              Phillip C. Thompson (MO Bar #69915)
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                                                           ATTORNEYS FOR DEFENDANT


                                              CERTIFICATE OF SERVICE


                       I hereby certify that on March 6, 2025, I filed the foregoing with the Court using the

CM/ECF system. This system sends notifications of such filing and service to all counsel of

record.

                                                                  /s/ Phillip C. Thompson
                                                                               Phillip C. Thompson
4896-7743-3124, v. 2




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